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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA



 In re: Afnan Mohammed Husain,                                        Bky No. 25-30895
                                                                         Chapter 7
 Debtor



   NOTICE OF HEARING AND MOTION FOR RELIEF FROM THE AUTOMATIC
                              STAY


 TO: Entities Specified in Local Rule 9013-3.

       Gardner Investments, Inc. (“Landlord”), a party in interest in this Chapter 7

bankruptcy case, by and through its undersigned counsel, moves the Court for the relief

requested below and give notice of hearing.


                                    NOTICE OF HEARING

       1.      The Court will hold a Hearing on the Motion before the Honorable Katherine A

Constantine on Wednesday, May 28, 2025 at 1:30 p.m. in Courtroom No. 8W, at the Diana E.

Murphy United States Courthouse, 300 South Fourth Street, Minneapolis, Minnesota 55415

and/or through such telephonic or electronic means as are ordered by the court.


       2.      Per local rule, any response to the motion must be filed and served not later than

May 21, 2025, which is at the first weekday at least seven days prior to the hearing (counting

holidays and weekends). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY

FILED, THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION

WITHOUT A HEARING.


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       3.      This Court has jurisdiction over this motion under 28. U.S.C. §§ 157 and 1334,

Bankruptcy Rule 5005 and Local Rule 1070-1.

       4.      This proceeding is a core proceeding. The petition commencing this case was

filed on March 28, 2025 (the “Petition Date”). This case is now pending before this Court.

       5.      The Motion arises under 11 U.S.C. §§ 362 and Federal Rule of Bankruptcy

Procedure 6009. The Motion is filed under Bankruptcy Rule 9014 and Local Rules 9013-1

through 9013-3.

       6.      Landlord requests that the Court enter an order granting relief from the automatic

stay for the purpose of permitting it to pursue an eviction action in State Court to seek recovery

of a premises owned by the Landlord and rented by the Debtor.

                                    FACTUAL BACKGROUND

       7.      Debtor at all times relevant herein and currently is a tenant in an apartment unit,

to wit: 1905 Stevens Avenue South, Apt. 203, Minneapolis Minnesota 55403 (the “Apartment.”)

Landlord is the owner of the building. See Declaration of Marshall Jackson, President of

Landlord filed herewith.

       8.      In October of 2024 Debtor entered into a written lease for the term of

approximately one year (specifically October 24,2024 through November 30, 2025) for

occupancy in the Apartment (the “Lease.”) Declaration Jackson, Exhibit A.

       9.      Debtor failed to pay rent for January of 2025 and Landlord brought an eviction

action against the Debtor on January 27, 2025 in Hennepin County District Court (Housing

Division) [4th District Court File No. 27-CV-HC-25-818 (the “Eviction Action.”)] Declaration of

Jackson Exhibit B.

       10.     Multiple pre-trial motions were filed by Debtor in the Eviction Action including a

motion to dismiss because the Debtor’s rights in the Apartment had been assigned to an entity


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called the “Aurora Living Trust.” Debtor has never provided any evidence to Landlord of the

existence of the “Aurora Living Trust” nor has Debtor listed an interest in the “Aurora Living

Trust” in schedule A/B. Declaration of Jackson.

       11.     On the Petition Date, Debtor filed a voluntary petition for relief under Chapter 7 of

Title 7 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the District of Minnesota. (the “Court”).

       12.     On the Petition Date Debtor failed to list Debtor as a creditor on the original

bankruptcy filing and did not inform Landlord, nor or Landlord’s attorney nor the state court of

the bankruptcy filing. Landlord had no independent knowledge of the bankruptcy filing as of the

Petition Date. Declaration of Jackson.

       13.     A hearing in the Eviction Action was held on April 7, 2025 in Hennepin County

Housing Court. As a result of that hearing, in ignorance of the automatic stay, the Hennepin

County District Court Referee entered an order for judgment in favor of the landlord

dispossessing Debtor and denying all affirmative defenses to the Eviction Action brought by the

Debtor, including her assertion that she could not be evicted because she had assigned the Lease

to a separate legal entity. Declaration of Jackson, Exhibit C.

       14.     On April 8, per the request of Landlord, Hennepin County issued a Writ of

Recovery to Landlord. Declaration of Jackson.

       15.     Only after she lost the Eviction Action did Debtor inform the District Court that

he had filed bankruptcy on the Petition Date. Declaration of Jackson.

       16.      As a result of the notice of bankruptcy filing, on April 10, the state court issued

an order vacating its order for possession and quashed the writ of recovery. Declaration of

Jackson, Exhibit D.

       17.     Although Debtor indicates in her amended filing [ECF 14-Schedule G] that she


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“retains no interest” in the apartment, she continues to reside in the Apartment. Declaration of

Jackson.

       18.      Debtor has failed to pay April and May rent to the Landlord. Currently, the

Debtor owes pre-petition rent and related costs (not including attorney’s fees) in the amount of

$2,456.20 (Declaration Jackson Exhibit E) and post-petition rent and related costs (not including

attorney’s fees) in the amount of $1,672.80 Declaration of Jackson Exhibit F.

       19.     There has been no attempt by the Trustee nor the Debtor to assume the Lease.

       20.     Landlord seeks relief from the Automatic Stay for the purpose of continuing to

seek eviction of the Debtor from the Apartment.



                               BASIS FOR RELIEF REQUESTED

       21.     Landlord has both an unsecured claim for rent for the months of January,

February and March of 2025 and a potential administrative claim in the current amount of

$1,672.80 for post-petition occupancy of the Apartment. Relief from stay to pursue Landlord’s

state court remedies against the Debtor for eviction is available under 11 USC § 362.

       22.     The bankruptcy estate will note be prejudiced by the proposed grant of stay relief,

in fact the estate will benefit by the termination of any administrative claim held by Landlord upon

termination of the Lease.

       23.     Pursuant to Local Rule 9013-2(c), Debtors states that should testimony be

necessary, Landlord reserves the right to call the following witnesses for the purpose of

discussing in greater detail the relief sought by filing the appeal: Marshall Jackson and attorney

Kimberly Tennyson.

       24.     This Motion is accompanied by a memorandum of law, proposed order, and proof

of service pursuant to Local Rule 9013-2(a).


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            WHERFORE, Debtor respectfully requests that this Court enter an order

               a. Substantially in the form of the proposed order attached modifying the

                   automatic stay permitting Landlord to proceed with the current eviction

                   proceeding in Hennepin County, or, to the extent necessary, beginning a

                   new eviction proceeding based upon the non-payment of post-petition rent;

                   and

               b. granting such other and additional relief as the Court deems just and

                   appropriate.

Respectfully submitted,

Dated: May 14, 2025

                                                   /e/ Kenneth C. Edstrom
                                                   Kenneth C. Edstrom (148696)
                                                   Sapientia Law Group, PLLC
                                                   120 South Sixth Street, Suite 100
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                                                   Attorneys for Landlord Gardner
                                                   Investments, Inc.




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                                  UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF MINNESOTA


 In re: Afnan Mohammed Husain                                                  Bky No. 25-30895
                                                                                   Chapter 7
 Debtor


                         MEMORANDUM OF LAW IN SUPPORT OF MOTION
                               FOR RELIEF FROM THE AUTOMATIC STAY




              This Memorandum is submitted in support of Landlord’s Motion for Relief from the

     Automatic Stay (“Motion”). The facts supporting the relief requested are set forth in the

     accompanying motion.

                                                   ARGUMENT

        Section 362(d) of the Bankruptcy Code provides, in part, that:

                      On request of a party in interest and after notice and a hearing, the court shall grant
                      relief from the stay provided under subsection (a) of this section, such as by
                      terminating, annulling, modifying, or conditioning such stay

                           •    for cause, including the lack of adequate protection of an interest in property of

                                such party in interest.


        Landlord seeks a limited and narrow modification of the stay for cause under 11 U.S.C. §

362(d)(1), in order to proceed with prosecution of a state court action in Illinois against the Debtor,

specifically limiting any recovery to insurance proceeds.

     Courts consider a number of factors when evaluating a request to grant relief from the stay to permit

pending litigation to proceed in a state court. Ostensibly, the test is that of balancing by the Court of the

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potential prejudice to the bankruptcy estate and to the other creditors against the hardship to the moving

party if the relief is not granted. In re: Blan, 237 B.R. 737 (8th Cir. BAP 1999) citing to Internal Revenue

Service v. Robinson (In re Robinson), 169 B.R. 356, 359 (E.D. Va. 1994); In re United Imports, Inc., 203

B.R. 162, 166 (Bankr. D. Neb. 1996); In re Marvin Johnson’s Auto Service, Inc., 192 B.R. 1008, 1014

(Bankr. N.D. Ala. 1996); Smith v. Tricare Rehabilitation Systems, Inc. (In re Tricare Rehabilitation

Systems, Inc.), 181 B.R. 569, 572-73 (Bankr. N.D. Ala. 1994).


            Specific factors that Court’s typically consider include:5

                    1.      whether relief would result in a partial or complete resolution of the issue;

                    2.      lack of any connection with or interference with the bankruptcy case;

                    3.      whether the proceeding involves the debtor as a fiduciary;

                    4.      whether a specialized tribunal with the necessary expertise has been established

                            to hear the cause of action;

                    5.      whether the debtor's insurer has assumed full responsibility for defending it;

                    6.      whether the action primarily involves third parties;

                    7.      whether litigation in another forum would prejudice the interest of the creditors;

                    8.      whether the judgment claim arising from the other action is subject to equitable

                            subordination;

                    9.      whether the movant's success in the other proceeding would result in a judicial

                            lien avoidance action by the debtor;

                    10.     the interests of judicial economy and the expeditious and economical resolution

                            of litigation;

                    11.     whether the parties are ready for trial in the other proceeding; and

                    12.     the impact of the stay on the parties and the balance of harms.



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            All of the above factors may not be relevant in every case, and a court need not give each

     factor equal weight. In re Mazzeo, 167 F.3d 139, 143 (2d Cir. 1999); In re Burger Boys, Inc., 183

     B.R. 682, 688 (Bankr. S.D.N.Y. 1994).

            In this case, if the automatic stay were lifted, neither this Court nor the bankruptcy estate

     would be involved, the lifting of the stay would enable Landlord to obtain the relief it is entitled

     to, and there is no prejudice to any other creditor. In the state court proceeding, the Debtor’s

     rights under the Lease have already been heard and, despite the vacating of the order restoring

     the Landlord to possession, the lifting of the automatic stay would allow both parties to assert

     whatever rights they have in housing court.




                                              CONCLUSION

            For the foregoing reasons, Landlord respectfully requests that the Court grant its motion

     and enter the proposed Order.

Respectfully submitted,

Dated: May 14, 2025                                   /e/ Kenneth C. Edstrom
                                                      Kenneth C. Edstrom (148696)
                                                      Sapientia Law Group, PLLC
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                                                      Attorneys for Gardner Investments, Inc.




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                                 DECLARATION OF SERVICE

Kenneth C. Edstrom declares under penalty of perjury that on May 14, 2025 he served the
following documents electronically with the Clerk of Court through ECF, and that a copy of the
above-referenced document will be delivered to the people who are Filing Users, by automatic e-
mail notification pursuant to the Electronic Case Filing System and this notice constitutes service
or notice pursuant to Local Rule 9006-l(a).

He further declares under penalty of perjury that he has provided the following documents to
certificateofservice.com to be served upon the matrix who will serve their own certificate of
service in connection with this motion:

   1       Notice of Motion and Motion for Relief from Automatic Stay.

   2       Declaration of Marshall Jackson with Exhibits

   3       Memorandum of Law in Support of Motion

   4       Declaration of Service

   5       Proposed Order



Dated: May 14, 2025                                  /e Kenneth C. Edstrom
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


 In re: Afnan Mohammed Husain                                             Bky No. 25-30895
                                                                              Chapter 7
 Debtor


                                                  ORDER


                In Minneapolis this ________________________

                Gardner Investments, Inc.’s Motion for Relief from the Automatic Stay (the
       “Motion”); came on for hearing before the undersigned on __________. Appearances
       were as noted in the Court’s minutes. Based on the arguments of the parties, all of the
       files, records, and proceedings herein, the Court being fully advised in the premises
       and accordingly: IT IS HEREBY ORDERED:
1.       The Motion is granted in its entirety.
2.       Gardner Investments, Inc. is hereby granted limited relief from the automatic stay to
         prosecute Hennepin County District Court (Housing Division) Court File No. 27-CV-
         HC-25-818, or such other and additional court filings necessary to attempt to recover
         possession of 1905 Stevens Avenue South, Apt. 203, Minneapolis Minnesota 55403 from
         the Debtor.
3.       This Court shall retain jurisdiction to hear and determine all matters arising from the
         implementation of this Order.
4.       Notwithstanding Federal Rule of Bankruptcy Procedure 4001(a)(3), this Order is not
         stayed but is instead effective immediately upon entry.


Dated: __________________                         _________________________
                                                  Katherine A. Constantine,
                                                  Chief United States Bankruptcy Judge

4894-3631-5064, v. 1
